     Case 4:21-cv-02829 Document 34 Filed on 04/05/22 in TXSD Page 1 of 2


                           UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 ROBERT S. BENNETT, NACHAEL
 FOSTER, ANDREW BAYLEY, and others
 similarly situated,
                                                     Civil Action No. 4:21-cv-02829
                Plaintiffs,
        v.
 STATE BAR OF TEXAS,
                Defendant.

               NOTICE OF DENIAL OF PETITIONS FOR CERTIORARI

       Defendant advises the Court and counsel that, on April 5, 2022, the United States Supreme

Court denied the petitions for certiorari in McDonald v. Firth, Nos. 21-800 and 21-974.

 Dated: April 5, 2022                              Respectfully submitted,

 Of Counsel:                                       /s/ Patrick W. Mizell
 Thomas S. Leatherbury                             Patrick W. Mizell
 State Bar No. 12095275                            Attorney-in-Charge
 VINSON & ELKINS LLP                               State Bar No. 14233980
 2001 Ross Avenue                                  S.D. Tex. Bar No. 36390
 Suite 3900                                        VINSON & ELKINS LLP
 Dallas, TX 75201                                  845 Texas Avenue
 Tel: (214) 220-7792                               Suite 4700
 Fax: (214) 999-7792                               Houston, TX 77002
 tleatherbury@velaw.com                            Tel: (713) 758-2932
                                                   Fax: (713) 615-5912
 Morgan A. Kelley                                  pmizell@velaw.com
 State Bar No. 1617261
 VINSON & ELKINS LLP
 2200 Pennsylvania Avenue NW
 Suite 500 West
 Washington, DC 20037
 Tel: (202) 639-6623
 Fax: (202) 879-8934
 mkelley@velaw.com
                        Counsel for Defendant State Bar of Texas




                                               1
      Case 4:21-cv-02829 Document 34 Filed on 04/05/22 in TXSD Page 2 of 2


                                 CERTIFICATE OF SERVICE

        I certify that on April 5, 2022, I electronically filed the foregoing notice with the Clerk of

the Court for the U.S. District Court for the Southern District of Texas by using the Court’s

CM/ECF system, which will send notification of such filing to the following:

Richard Robins
2450 Louisiana St. #400-155
Houston, TX 77006
(713) 574-6279
rich@consumerrights.us

Dated: April 5, 2022                               /s/ Patrick W. Mizell
                                                   Patrick W. Mizell
                                                   Counsel for Defendant State Bar of Texas




                                                  2

US 8770114v.1
